           Case 1:18-cv-01159-PKC Document 11 Filed 02/12/18 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTERN DISTRICT OF NEW YORK

RAVIDATH LAWRENCE RAGBIR et al.,
                                                    Civil Action No. 18 Civ. 1159
                       Plaintiffs,
                                                    PLAINTIFFS’ NOTICE OF MOTION
                       v.                           FOR A PRELIMINARY INJUNCTION

THOMAS D. HOMAN et al.,

                       Defendants.


       PLEASE TAKE NOTICE that upon the Verified Complaint sworn to on February 7,

2018, the concurrently filed Memorandum of Law in Support of Plaintiffs’ Motion for a

Preliminary Injunction, the Declaration of George Escobar, dated February 12, 2018, the

Declaration of Steve Choi, dated February 12, 2018, the Declaration of Mary Small, dated

February 12, 2018, and the Declaration of Dan Kesselbrenner, dated February 11, 2018, the

Declaration of Alina Das, dated February 12, 2018, and the Declaration of Matthew L. Hoppock,

dated December 27, 2017, Plaintiffs, by and through their attorneys, will move before the United

States District Court for the Southern District of New York, for an Order, pursuant to Rule 65 of

the Federal Rules of Civil Procedure, granting Plaintiffs a preliminary injunction. In particular,

Plaintiffs seek a preliminary injunction (1) staying Plaintiff Ravidath Ragbir’s removal from the

United States and (2) restraining Defendants from taking any adverse immigration enforcement

action against any noncitizen on the basis of protected speech or expressive conduct. In the

alternative to (2), Plaintiffs seek a preliminary injunction restraining Defendants from opening an

investigation into, surveilling, accelerating proceedings against, detaining, or altering the

provisions of any order against any noncitizen on the basis of protected speech or expressive

conduct.
        Case 1:18-cv-01159-PKC Document 11 Filed 02/12/18 Page 2 of 3




Dated: February 12, 2018                Respectfully submitted,

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         Case 1:18-cv-01159-PKC Document 11 Filed 02/12/18 Page 3 of 3




                                AFFIRMATION OF SERVICE
       I, Anthony D. Boccanfuso, the undersigned attorney at law duly admitted to practice in
the State of New York, respectfully show that on the 12th day of February, 2018, I caused a copy
of the attached to be served by email, by agreement of the parties, upon:
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                                             /s/ Anthony D. Boccanfuso
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